486 F.2d 1394
    Jonesv.American Export Isbrandtsen Lines, Inc.
    71-2139
    UNITED STATES COURT OF APPEALS Second Circuit
    5/23/72
    
      1
      S.D.N.Y.
    
    AFFIRMED
    
      2
      (The decision of the Court is referenced in a 'Table of Decisions Without Reported Opinions' appearing in the Federal Reporter.  The Second Circuit provides by rule for disposition by summary order when a decision is unanimous and each judge believes that 'no jurisprudential purpose would be served by a written opinion.' Decisions without formal opinions 'shall not be cited or otherwise used in unrelated cases.' Second Circuit Rules, § 0.23, 28 U.S.C.A.)
    
    